Case 1:14-mj-00065-GSA Document 15 Filed 04/17/14 Page 1 of 3
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AO 199B (Rev. 09/08- EDCA     1:14-mj-00065-GSA
                          [Fresno])                              Document
                                    Additional Conditions of Release (General) 15          Filed 04/17/14 Page 2 of 3 Page                             Pages

SILKEUTSABAY, Khamlay
Dkt. No. 14-006SM-04

                                                 ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Ii:1   (6)         The defendant is placed in the custody of:

                         Name of person or organization Bolin Asher

             who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
             defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
             release or disappear~.

                         SIGNED:_,
                             CUSTOD AN
       (7)         The defendant shall:
       ~           (a) report on a regular basis to the following agency:
                       Pretrial Services and comply with their rules and regulations;
       ~           (b) report in person to the Pretrial Services Agency on the first working day following your release from
                       custody;
       ~           (c) cooperate in the collection of a DNA sample;
       ~           (d) reside at a location approved by the PSO, and not move or be absent yourself from this residence for more
                       than 24 hours without prior approval of PSO; travel restricted to Fresno County, and direct travel to the
                       Eastern District of Washington, for court-related purposes only, unless otherwise approved in advance by
                       PSO.
       ~           (e) report any contact with law enforcement to your PSO within 24 hours;
       o           (f) be released to the third-party of and you shall reside at                                   and participate in the
                       as directed by program staff and Pretrial Services;
       ~           (g) not associate or have any contact with: La Yang, unless in the presence of counselor otherwise app'roved in
                       advance by the PSO;
       o           (h) maintain or actively seek employment, and provide proof thereof to the PSO, upon request.
       ~           (i) refrain from possessing a firearm/ammunition, destructive device, or other dangerous weapon; additionally,
                       you shall provide written proof of divestment of all firearms/ammunition, currently under your control; and
                       no firearm/ammunition, destructive device or dangerous weapon shall be permitted to be present in the
                       defendant's residence;
       ~           U) submit to drug or alcohol testing as approved by the Pretrial Services Officer. You shall pay all or part ofthe
                       costs of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer.
       ~           (k) refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance
                       without a prescription by a licensed medical practitioner; and you shall notify Pretrial Services immediately
                       of any prescribed medication(s). However, medical marijuana, prescribed or not, may not be used.
       0           (I) participate in a program of medical or psychiatric treatment including treatment for drug or alcohol dependency, as
                       approved by the PSO; you shall pay all or part of the costs of the counseling services based upon your ability to pay,
                       as determined by the PSO;
       0           (m) take all medications as prescribed by a licensed medical practitioner;
       ~           (n) report any prescriptions to the PSO within 48 hours of receipt.
       ~           (0) surrender any passport to the Clerk, United States District Court, and obtain no passport during the
                       pendency of this case;
       0           (p) not obtain a passport or other traveling documents during the pendency of this case.
       0           (q) execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of
                       release, the following sum of money or designated property:
       0           (r) post with the court the following indicia or ownership of the above-described property, or the following amount or
                       percentage of the above-described money:
       [J          (s) execute a bail bond with solvent sureties in the amount of$
       0           (t) have their release on bond delayed until (date & time).
       0           (u) Other:
Case 1:14-mj-00065-GSA Document 15 Filed 04/17/14 Page 3 of 3
